     8:19-cr-00181-DCC         Date Filed 04/12/19       Entry Number 243         Page 1 of 1




                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  GREENWOOD DIVISION

  UNITED STATES OF AMERICA                        )        CRIMINAL NO.: 8:19-00181
                                                  )
                 v.                               )
                                                  )
                                                  )
  DETRIC LEE MCGOWAN, a/k/a, “Fat”                )
  DONALD NATHANIEL THOMAS, JR.,                   )
      a/k/a, “TJ”                                 )
  JAMAL DEMARCUS LATIMER                          )
  CHRISTOPHER JEROME                              )
  CUNNINGHAM                                      )
  RICHARD LAMOND LONGSHORE,                       )
      a/k/a, “Bam”                                )
  CELEST HENRY BLOCKER                            )
  EDDIE LEE CHILDS, JR., a/k/a, “Speedy”          )
  TREVOR MAURICE HULL                             )
  DANNY MORALES LOPEZ                             )
  SHEQUITA LATOYA HOLLOWAY                        )
  LAUREN BROOKE POORE                             )

   ORDER TO UNSEAL SEARCH WARRANT APPLICATIONS AND AFFIDAVITS

       It appearing to the Court that the applications and affidavits in support of search warrants

issued under the following Miscellaneous Case Numbers: : 6:18-701-JDA; 8:18-1033-JDA;

8:18-1034-JDA; 8:18-1035-JDA; 6:19-203-JDA; and 6:19-00092-JDA were filed under seal;

       It further appearing that the sealing of the applications and affidavits in support of the

search warrants is no longer warranted, and upon motion of the attorneys for the Government,

       IT IS HEREBY ORDERED that the applications and affidavits in support of the search

warrants in the above Miscellaneous Cases be unsealed.

       AND IT IS SO ORDERED.

                                              s/Jacquelyn D. Austin
                                              JACQUELYN D. AUSTIN
                                              UNITED STATES MAGISTRATE JUDGE
April 12, 2019
